                         Case 1:19-cv-01864-PAE-RWL Document 5 Filed 03/04/19 Page 1 of 1

        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
                                                 -------------------- X

                                                                                        ORDER OF REFERENCE TO
        Plaintiff,      YAROSLAV SURIS                                                   A MAGISTRATE JUDGE
                                                                                          19-cv-1864     (PAE ) (RWL)
                 -v-

        Defendant.      COLUMBIA UNIVERSITY



          --------------------------------------
                                                                     X



               The above entitled action is referred to the designated Magistrate Judge for the following
        purpose(s):
                 General Pretrial (includes scheduling,
                 discovery, non-dispositive pretrial
                 motions, and settlement)
                                                                          □    Consent under 28 U.S.C. §636(c) for all
                                                                               purposes (including trial)


        □                                                                 □
                                                                               Consent under 28 U.S. C. §636(c) for limited
                 Specific Non-Dispositive                                      purpose (e.g., dispositive motion,
                 Motion/Dispute:*                                              preliminary injunction)


                                                                          □
                                                                               Purpose: ________
                                                                               Habeas Corpus

                 If referral j for discovery djsputes when                □    Social Security


                                                                          □
                 th District Ju lge i unavaih1ble, the time                    Dispositive Motion (i.e., motion requiring

        □
                 period of the referral:___ _ ___                              a Report and Recommendation)
                                                                               Particular Motion:--------
                Settlement*

        □       Inquest After Default/Damages Hearing                          All such motions: -----

    The parties are hereby notified that this Court has written on a legal issue that appears central to this case: the
    applicability of the ADA to websites. See Del-Orden v. Bonobos, Inc., No. 17 Civ. 2744 (PAE), 2017 WL
    6547902 (S.D.N.Y. Dec. 20, 2017).




                                                                               f;;JA .
*Do not check if already referred for general pretrial.

Dated March 4, 2019
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                                                                                             Gybv
                                                                          United States District Judge
